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Home / For Industry / Medical products for rare diseases and conditions / Designating an Orphan Product: Drugs and Biological Products / Clinical Superiority Findings




                                                                     Clinical Superiority Findings
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                                                  In accordance with section 527(e)(2) of the FD&C Act (21 U.S.C. 360cc(e)(2)), FDA will
    Designating an Orphan                                                                                                                                                         Content current as of:
    Product: Drugs and                            publish a summary of the clinical superiority findings when a drug is eligible for orphan-
                                                                                                                                                                                  04/01/2024
    Biological Products                           drug exclusivity on the basis of a demonstration of clinical superiority. This page will only
                                                  include the clinical superiority findings for those drugs approved on or after August 18,
      Orphan Drug Designation                     2017, the date that the FDA Reauthorization Act of 2017 added section 527(e)(2) to the
      Request Form                                FD&C Act. “Clinical superiority,” is used here only within the meaning of that term under
                                                  FDA’s orphan drug regulations at 21 CFR Part 316 and section 527(c) of the FD&C Act. For
      Orphan Drug Act -
                                                  the definition of “clinically superior,” for the purposes of determining eligibility for
      Relevant Excerpts
                                                  orphan-drug exclusivity when the same drug has been previously approved for the same
                                                  use or indication, see 21 CFR 316.3(b)(3). For the definition of “same drug,” see 21 CFR
      Frequently Asked
      Questions (FAQ) About                       316.3(b)(14).
      Designating an Orphan
      Product                                     The summary is organized by approval date.

                                                  2023
      Orphan Drug Designation:
      Disease Considerations
                                              Flamel Ireland Limited dba Avadel Ireland for Lumryz (sodium oxybate)
      Clinical Superiority
      Findings                                    2022


      Instructions for                        Mitsubishi Tanabe Pharma Corporation for Radicava ORS (edaraone) oral suspension
      Searchable Designation
      Database                                    2020

      Public Identification of                Jazz Pharmaceuticals Ireland Limited for Xywav (calcium, magnesium, potassium, and sodium
      Orphan Drug Designation                 oxybates)

      Improving the Prevention,
                                                Approval Date                      7/21/2020
      Diagnosis, and Treatment
      of Rare and Neglected                     NDA/BLA                            212690
      Diseases; FDA Report to
      Congress                                  Sponsor                            Jazz Pharmaceuticals Ireland Limited

                                                Drug                               Xywav (calcium, magnesium, potassium, and sodium oxybates)
      Contact Us
                                                Orphan Designation                 Treatment of narcolepsy

                                                Approved Labeled Indication        Indicated for the treatment of cataplexy or excessive daytime sleepiness (EDS) in patients 7
                                                                                   years of age and older with narcolepsy


                                                Exclusivity Protected Indication   Indicated for the treatment of cataplexy or excessive daytime sleepiness (EDS) in patients 7
                                                                                   years of age and older with narcolepsy

                                                Summary of Clinical Superiority    The active moiety, oxybate was previously approved as Xyrem (sodium oxybate) for the
                                                Findings                           treatment of cataplexy or EDS in patients 7 years of age and older with narcolepsy.
                                                                                   Xywav (calcium, magnesium, potassium, and sodium oxybates) is clinically superior to Xyrem
                                                                                   by means of greater safety because Xywav provides a greatly reduced chronic sodium burden
                                                                                   compared to Xyrem. The differences in the sodium content of the two products at the
                                                                                   recommended doses will be clinically meaningful in reducing cardiovascular morbidity in a
                                                                                   substantial proportion of patients for whom the drug is indicated.




                                                  2019

                                              Neurelis Pharmaceuticals, Inc. for Valtoco (diazepam nasal spray)

                                                  2018

                                              CSL Behring for Hizentra


                                              Astellas Pharma Global Development, Inc. for Prograf
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             Novartis Pharmaceuticals           591-3
                                      Corporation           Filed
                                                  for Signifor LAR 04/22/24 Page 82 of 101 PageID #: 29970


                        Leadiant Biosciences, Inc. for Revcovi (elapegademase-lvlr)


                        Alexion Pharmaceuticals, Inc. for Ultomiris (ravulizumab-cwvz)

                           2017

                        Wyeth Pharmaceuticals, Inc., a Pfizer Company for Mylotarg



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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

        DEPUY SYNTHES PRODUCTS, LLC,

                             Plaintiff,

                     v.

        GLOBUS MEDICAL, INC.,
                                                      REDACTED - PUBLIC VERSION
                             Defendant.


        Karen E. Keller and John W. Shaw, SHAW KELLER LLP, Wilmington, Delaware.

        Matthew J. Becker, Jeremy C. Lowe, Edward M. Mathias, and Tara R. Rahemba, AXINN,
        VELTROP & HARKRIDER LLP, Hartford, CT.

        Diane C. Ragosa, AXINN, VELTROP & HARKRIDER LLP, New York, NY.

              Counsel for Plaintiff.


        Richard L. Horwitz and David E. Moore, POTTER ANDERSON & CORROON LLP,
        Wilmington, Delaware.

        Vivian S. Kuo and Robert F. Ruyak, WINSTON & STRAWN LLP, Washington, D.C.

        Shane A. Nelson and Luke A. Culpepper, WINSTON & STRAWN LLP, Houston, TX.

              Counsel for Defendant.




                                          MEMORANDUM OPINION
1


        March 25, 2014
        Wilmington, Delaware.
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     f~ P.bo"
   STARK, U.S. District Judge:

           The Court held a ten-day jury trial in this patent infringement action in June 2013. At the

    conclusion of the trial, the jury returned a verdict for Plaintiff DePuy Synthes Products, LLC

    ("Synthes"), finding U.S. Patent Nos. 7,875,076; 7,862,616; and 7,846,207 valid and infringed

    by Defendant Globus Medical, Inc.'s ("Globus") three accused products. (D.I. 322) Now

    pending before the Court are Synthes' Motion for Attorneys' Fees Under 35 U.S.C. § 285 (D.I.

    340), Motion for a Permanent Injunction and Destruction of Infringing Products (D.I. 356),

    Motion for an Accounting and Determination of an Ongoing Royalty Rate (D.I. 357), and Motion

    for Prejudgment and Postjudgment Interest (D.I. 358), as well as Globus' Motion for Attorneys'

    Fees (D.I. 370). 1 For the reasons set forth below, the Court will deny each party's motion for

    attorneys' fees, deny Synthes' Motion for a Permanent Injunction and Destruction of Infringing

    Products, grant in part and deny in part Synthes' Motion for an Accounting and Determination of

    an Ongoing Royalty Rate, and grant Synthes' Motion for Prejudgment and Postjudgment Interest.

    I.     BACKGROUND

           Synthes filed this patent infringement action against Globus on July 22, 2011. 2 (D.I. 1)

    The patents-in-suit relate to medical devices called "inter-vertebral implants" and methods of

    implanting such devices between adjacent vertebrae in spinal fusion procedures. (See id. at 2-4)



           1
            Globus also filed a Renewed Motion for Judgment as a Matter of Law, Or in the
    Alternative, for a New Trial. (D.I. 371) That motion is the subject a separate Memorandum
    Opinion.
           2
             The action was actually filed by Synthes USA, LLC; Synthes USA Products, LLC; and
    Synthes USA Sales, LLC. (See D.I. 1) However, on February 8, 2013, the parties executed a
    joint stipulation, later entered as an order, by which Synthes USA, LLC agreed to dismiss with
    prejudice all claims and defenses asserted by Synthes USA Products, LLC and Synthes USA
    Sales, LLC. (D.I. 130) Thereafter, on February 15, 2013, DePuy Synthes Products, LLC was
    substituted as plaintiff for the lone remaining plaintiff in the case, Synthes USA, LLC. (D.I. 157)
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I
               On February 13, 2013, the parties filed motions for summary judgment. (D.1. 133, 138,

        146) At the May 14, 2013 Pretrial Conference, the Court addressed these motions and set forth

        its decisions in an Order the following day. (Transcript of Pretrial Conference (D.l. 288)

        (hereinafter "Pretrial Tr."); D.l. 268) The Court granted Synthes' Motion for Summary

        Judgment that the Asserted Patents are Not Invalid as Anticipated [by Certain Prior Art] and

        granted in part Globus' Motion for Partial Summary Judgment-denying that motion with

        respect to noninfringement and invalidity for obviousness, but granting the motion with respect

        to Synthes' allegation that Globus willfully infringed the patents-in-suit. (D.l. 268 at~ 4-5)

        The Court also denied Synthes' Motion for Summary Judgment of Infringement of Claims 1, 3

        and 5 of U.S. Patent No. 7,862,616. (Id. at~ 3)

               As already noted, following trial the jury returned a verdict for Synthes, finding the

        patents-in-suit valid and infringed by Globus' three accused products, and awarding Synthes

        royalty damages of $16,001,822.25, based on a fifteen percent royalty rate. (D.l. 322) Upon

        receiving the jury's verdict in favor of Synthes on all claims of infringement, validity, and

        damages, the Court entered judgment on June 24, 2013. (D.1. 329) Thereafter, on July 2, 2013,

        Synthes filed a Motion for Temporary Restraining Order and Preliminary Injunction. (D.l. 333)

        The Court denied that motion on August 22, 2013. See Depuy Synthes Prods., UC v. Globus

        Med., Inc., 2013 WL 4509655, at *1 (D. Del. Aug. 22, 2013).

               The parties later filed numerous other post-trial motions. On July 8, 2013, Synthes filed a

        Motion for Attorneys' Fees Under 35 U.S.C. § 285. (D.l. 340) Then, on July 22, 2013, Synthes

        filed a Motion for a Permanent Injunction and Destruction of Infringing Products (D.l. 356),

        Motion for an Accounting and Determination of an Ongoing Royalty Rate (D.1. 357), and Motion


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        for Prejudgment and Postjudgment Interest (D.I. 358). On August 1, 2013, Globus filed its

       Motion for Attorneys' Fees. (D.I. 370) Briefing on the motions was completed by September 5,

        2013. (See D.I. 402)

        Il.    LEGAL STANDARDS

               A.      Motions for Attorneys' Fees

               The award of attorneys' fees is discretionary with the trial court, and is to be awarded

        only after a finding that a case was "exceptional." See Stevenson v. Sears, Roebuck & Co., 713

        F.2d 705, 712-13 (Fed. Cir. 1983); 35 U.S.C. § 285 ("The court in exceptional cases may award

        reasonable attorney fees to the prevailing party."). The Federal Circuit has made clear that

        attorneys' fees should be awarded only in "limited circumstances" and are not to become an

        "ordinary thing in patent litigation." Forest Labs., Inc. v. Abbott Labs., 339 F.3d 1324, 1329

        (Fed. Cir. 2003).

               In undertaking a Section 285 inquiry, the Court focuses in particular on the actual conduct

        of the parties during the course of litigating or prosecuting the patent. See Lightwave
1

I       Technologi.es, Inc. v. Coming Glass Works, 1991WL4737, at *13 (S.D.N.Y. Jan. 16, 1991).

        Courts have identified certain conduct as "exceptional:" "inequitable conduct before the PTO;

        litigation misconduct; vexatious, unjustified, and otherwise bad faith litigation; [filing of] a

        frivolous suit or willful infringement." Edwards Lifesciences AG v. Corevalve, Inc., 2011 WL

        446203, at *13 (D. Del. Feb. 7, 2011) (internal quotation marks omitted); see also Standard Oil

        Co. v. Am. Cyanamid Co., 774 F.2d 448, 455 (Fed. Cir. 1985) ("Other exceptional circumstances

        include willful infringement, misconduct during litigation, vexatious or unjustified litigation, or a

        frivolous suit"). However, as the Federal Circuit has cautioned, "[i]n evaluating the frivolity of


                                                          3
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   particular arguments made during the course of the litigation, the arguments must be shown to be

    at least objectively unreasonable." Highmark, Inc. v. Allcare Health Mgmt. Sys., Inc., 687 F.3d

    1300, 1316 (Fed. Cir. 2012).

           B.      Motions for a Permanent Injunction and Destruction of Infringing Products

           Under the Patent Act, "[t]he several courts having jurisdiction of cases under this title

    may grant injunctions in accordance with the principles of equity to prevent the violation of any

    right secured by patent, on such terms as the court deems reasonable." 35 U.S.C. § 283. The

    party requesting a permanent injunction has the burden of showing that: ( 1) it has suffered an

    irreparable injury; (2) remedies available at law are inadequate to compensate for that injury;

    (3) considering the balance of hardships between the plaintiff and defendant, a remedy in equity

    is warranted; and (4) the public interest would not be disserved by a permanent injunction. eBay

    Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). "While the right to exclude is the

    essence of the concept of property, district courts are, nevertheless, given broad discretion under

    35 U.S.C. § 283 ... to determine whether the facts of a case warrant the grant of an injunction

    and to determine the scope of the injunction." Joy Techs. Inc. v. Flakt, Inc., 6 F.3d 770, 772

    (Fed. Cir. 1993).

           C.      Motions for an Accounting and Determination of an Ongoing Royalty Rate

           Under 35 U.S.C. § 284, a party prevailing on a claim of patent infringement is entitled to

    damages in an amount "no ... less than a reasonable royalty for the use made of the invention by

    the infringer." 35 U.S.C. § 284; see also Finjan Inc. v. Secure Computing Corp., 626 F.3d 1197,

    1212 (Fed. Cir. 2010). Such damages may be based upon sales made prior to the court entering a

    judgment, but not considered in the calculation at that time. See Finjan, 626 F.3d at 1212. They


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   may also include sales made after the court enters its judgment. See id. at 1212-13. The

   determination of an ongoing royalty rate, including whether it should he increased beyond the

   jury's verdict, is a matter within the district court's discretion. See Paice LLC v. Toyota Motor

    Corp., 504 F.3d 1293, 1314-15 (Fed. Cir. 2007).

           D.      Motions for Prejudgment and Postjudgment Interest

           "As a general matter, prejudgment interest should ordinarily be awarded in patent cases to

    provide patent owners with complete compensation." LG Display Co., Ltd. v. AU Optronics

    Corp., 722 F. Supp. 2d 466, 475 (D. Del. 2010). The Court has broad discretion to select the

   prejudgment interest rate to be applied, and the Federal Circuit has held that application of the

   prime rate is appropriate even if there is no evidence that the patent holder borrowed at the prime

    rate. See Uniroyal, Inc. v. Rudkin-Wiley Corp., 939 F.2d 1540, 1545 (Fed. Cir. 1991).

    Postjudgment interest shall be awarded at the rate provided in 28 U.S.C. § 1961(a). See LG

    Display, 722 F. Supp. 2d at 475.

    III.   DISCUSSION

           A.      Motions for Attorneys' Fees

                   1.     Synthes' Motion for Attorneys' Fees

           In support of its Motion for Attorneys' Fees Under 35 U.S.C. § 285, Synthes points to

    numerous instances of what it labels "litigation misconduct" engaged in by Globus during the

    course of the instant litigation. (D.I. 364 at 2) Some of the more serious accusations leveled by

    Synthes are that Globus: "misrepresented numerous critical facts in discovery," "repeatedly

    maintained baseless arguments," and "made numerous representations throughout trial that

    contradicted the facts in the case, the Court's prior rulings, and Globus' earlier representations to


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   the Court." (Id. at 3, 5-6)

           The Court does not agree with Synthes. As to Synthes' assertion that Globus

   misrepresented numerous critical facts in discovery, the Court finds that Globus' actions, while

   not always laudable, were most often reasonable under the circumstances. (See D.I. 386 at 16-

   20) For example, in addressing Synthes' allegation that Globus withheld information regarding

   its redesigned products, Globus noted that it produced non-email documents regarding that topic,

   and that when Synthes later moved to compel production of related email, the Court concluded

   that it was "not an easy dispute" and only granted "some limited e-mail discovery." (Id. at 19

   (citing D.I. 105 at 25-26)) In the Court's view, Globus' discovery-related actions do not,

   individually or collectively, rise to the level of "exceptional" such that attorneys' fees are

   warranted.

           Second, as to Synthes' claim that Globus repeatedly maintained baseless arguments, the

   Court again finds that Globus' actions were not "exceptional." Synthes' contentions that Globus

   "[m]aintained [b]aseless [i]nvalidity and [n]on-[i]nfringement [p]ositions [t]hroughout the

    [c]ase," including anticipation defenses that "were not even close to meritorious" (D.I. 364 at 16-

    17), are unpersuasive. The Court addressed Globus' claim construction, noninfringement and

   invalidity positions at the Pretrial Conference and found them to be not unreasonable (even when

    Globus did not ultimately prevail). For instance, the Court stated:

                           Defendant's claim construction positions,
                   although largely not adopted, were in no respect
                   unreasonable. Defendant's noninfringement
                   position[s], particularly to the extent tied to their not
                   unreasonable claim construction positions, were
                   also not unreasonable. Even on the assumption that
                   the Court would adopt many of Synthes'


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                   constructions, Globus had some bases to move for
                   summary judgment of noninfringement, which
                   again shows a not unreasonable defense.

                          Defendant's invalidity positions, particularly
                   [even] as they now exist given the Court's adoption
                   of many of Synthes' proposed constructions, [are]
                   also not unreasonable. All of that makes it plain to
                   the Court ... that Globus' [post-suit] conduct has
                   not been objectively unreasonable.

    (Pretrial Tr. at 132-33) Many of Globus' positions the Court addressed at the Pretrial Conference

    are the same positions which Synthes now argues are "baseless." The Court's view expressed at

    the Pretrial Conference has not changed. See generally Highmark, 687 F.3d at 1316 (concluding

    that when a court "evaluat[es] the frivolity of particular arguments made during the course of the

    litigation, the arguments must be shown to be at least objectively unreasonable").

           Third, as to Synthes' claim that Globus made representations at trial that contradicted the

    Court's prior rulings or Globus' earlier representations to the Court, Synthes acknowledges that

    some of the statements to which it points were already the subject of curative instructions at trial.

    (See D.I. 364 at 10-12 (citing Transcript of Jury Trial (D.I. 346-355) (hereinafter "Trial Tr.") at

    2149-53)) Illustrative of such statements is a comment made by Globus' counsel during closing

    arguments regarding the Court's interpretation of a particular claim term, about which Globus

    admits it "misspoke." (D.I. 386 at 8) The Court addressed at trial other of Synthes' allegations

    about "repeated misrepresentations" (D.I. 364 at 14-15) and rejected them. (See Trial Tr. at

    2039-40 (permitting Globus to present its interpretation of "non-metallic material" limitation,

    despite Synthes' protests that Globus' argument had already been rejected by Court); id. at 2119-

    20 (rejecting Synthes' request to reopen evidence due to statement made by Globus' counsel



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    regarding its redesigned products, as Court believed jury did not "[take] from [that statement]

    what [Synthes is] suggesting")) Thus, much of what Synthes complains about was already dealt

    with at trial, the Court already provided adequate relief, and these events do not make this case

    "exceptional." Moreover, Globus properly places its comments within the context of a legally

    and factually complex trial in which the Court was required to construe claim terms as late as

    during the trial's final days. (See Trial Tr. at 1923-25) Indeed, as Globus notes, the Court

    acknowledged that the question of how Globus' counsel could present some of these issues at

    trial was a "difficult" one, and "some leeway" was necessary. (Id. at 2076-77)

           In sum, the Court does not find that this case, and particularly Globus' conduct, was

    "exceptional." Accordingly, Synthes' Motion for Attorneys' Fees Under 35 U.S.C. § 285 is

    DENIED.

                   2.      Globus' Motion for Attorneys' Fees

           In Globus' Motion for Attorneys' Fees (DJ. 370), Globus argues that it is entitled to

    attorneys' fees under 35 U.S.C. § 285 because "Synthes' allegation that Globus willfully

    infringed [the patents-in-suit] was brought in bad faith ... [and] Synthes maintained its

    willfulness allegation even after ... it became clear that [the allegation] lacked any merit." (Id.

    at 1) Globus relies primarily on the Court's ruling on Globus' Motion for Partial Summary

    Judgment, which the Court granted with respect to Synthes' allegation that Globus willfully

    infringed the patents-in-suit. (Id. at 1, 3-6 (citing DJ. 268 at ii 4)) Particularly critical to Globus'

    arguments here are the statements made by the Court during the Pretrial Conference, in which the

    Court said that Globus' noninfringement positions were "not unreasonable," Globus' pre-suit

    conduct was "objectively reasonable," and Globus' post-suit conduct was not "objectively


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    unreasonable." (Id. at 4 (citing Pretrial Tr. at 132-33))

           Although Synthes' claim of willful infringement was ultimately unsuccessful, this alone

    does not establish that Synthes acted in bad faith. See Brooks Furniture Mfg., Inc. v. Dutailier

    Int 'l, Inc., 393 F.3d 1378, 1384 (Fed. Cir. 2005). More importantly, the Court's determination

    that Synthes could not prevail on its willful infringement claim does not logically lead to the

    conclusion that Globus, therefore, should receive attorneys' fees; the Court did not state that

    Synthes' willfulness allegation was itselfunreasonable. 3 See generally Highmark, 687 F.3d at

    1316. Indeed, the jury's verdict cuts strongly against a finding that Synthes engaged in improper

    conduct, as the jury found that Globus' products infringed the asserted claims and rejected

    Globus' invalidity arguments. (See DJ. 321; DJ. 387 at 9-10) Synthes' conduct is plainly not

    the type of"exceptional" conduct that should give rise to the awarding of attorneys' fees. 4

    Accordingly, Globus' Motion for Attorneys' Fees is DENIED.

           B.      Synthes' Motion for a Permanent Injunction
                   and Destruction of Infringing Products

           The Court next addresses Synthes' Motion for a Permanent Injunction and Destruction of

    Infringing Products. (D.I. 356) Previously, on July 2, 2013, Synthes filed a Motion for

    Temporary Restraining Order and Preliminary Injunction. (DJ. 333) The Court denied that

    motion on August 22, 2013. See Depuy Synthes Prods., 2013 WL 4509655, at *1. For some of


           3
            Globus also moves for attorneys' fees under Federal Rule of Civil Procedure 11. (D .I.
    370 at 1) As the Court rejects Globus' argument that Synthes lacked a good faith basis for
    alleging (and maintaining a claim for) willful infringement, it need not further analyze any aspect
    of Globus' Rule 11 claim.
           4
            Given the Court's other conclusions, it is not necessary to wade into the parties' dispute
    as to whether Globus is properly viewed as a "prevailing party" under 35 U.S.C. § 285. (See D.I.
    387 at 1-2, 4-7; D.I. 399 at 2-4)

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    the same reasons that the Court denied Synthes' earlier motion for a preliminary injunction,

    Synthes' request for a permanent injunction also fails.

           To obtain a permanent injunction, the requesting party must prove that remedies available

    at law are inadequate to compensate it for its injury. See eBay, 547 U.S. at 391. In the Court's

    opinion denying a preliminary injunction, the Court concluded that "Synthes may be adequately

    compensated through a reasonable royalty." Id. at *2. In doing so, the Court rejected Synthes'

    argument that its patented products can act as "door openers" to other new products, and thus

    Synthes is losing opportunities to convert surgeons to its new product lines. See id. Synthes'

    Motion seeking a permanent injunction only reargues this point, providing no additional support.

    (D.I. 361 at 12-13) The affidavit submitted by a Synthes employee is a recitation of the affidavit

    Synthes submitted with its Motion for Temporary Restraining Order and Preliminary Injunction.

    (Compare D.I. 337 with D.I. 368) The Court carefully considered this affidavit previously and

    concluded that it did not support a finding that remedies available at law are inadequate to

    compensate Synthes for its injury. See Depuy Synthes Prods., 2013 WL 4509655, at *2 {citing to

    and discussing affidavit). Synthes has provided no basis for the Court to change its view.

           Synthes makes persuasive arguments regarding some of the other permanent injunction

    factors, particularly regarding the balance of hardships between Synthes and Globus and the

    public interest. However, Synthes has not met the entirety of its burden, so a permanent

    injunction is not appropriate. 5 See S.0.1.TEC Silicon On Insulator Techs., S.A. v. MEMC Elec.


           5
           As to the irreparable injury factor, Synthes points to Apple Inc. v. Samsung Elecs. Co ..
   Ltd., 735 F.3d 1352 (Fed. Cir. 2013) ("Apple III"), a Federal Circuit decision issued after the
   Court's ruling on a preliminary injunction. (D.I. 408) Apple Ill calls into question some of the
   Court's earlier conclusions regarding the causal nexus requirement. The Court's earlier opinion
   cited another Federal Circuit case for the proposition that '''[s]ales lost to an infringing product

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   Materials, Inc., 2011WL2748725, at *21-22 (D. Del. July 13, 2011) (denying motion for

   pennanent injunction where some, but not all, of the relevant factors weighed against it). Having

   rejected Synthes' request for a permanent injunction, the Court will also deny the more serious

   remedy of ordering Globus to destroy the infringing products. Accordingly, Synthes' Motion for

   a Permanent Injunction and Destruction of Infringing Products is DENIED.

          C.      Synthes' Motion for an Accounting and
                  Determination of an Ongoing Royalty Rate

          The Court next addresses Synthes' Motion for an Accounting and Determination of an

    Ongoing Royalty Rate. (D.l. 357) Synthes seeks an award of additional damages to account for

   infringing sales6 that were not part of the royalty base that the parties presented to the jury. (D.I.

   362 at 1) For sales made from August 1, 2012 through June 30, 2013, Synthes seeks damages

   applying the 15% royalty rate awarded by the jury. (Id. at 2; D.I. 321) For any post-June 30,

   2013 sales, Synthes asks that Globus be required to provide it with records sufficient to identify

   infringing sales within 15 days after the close of the calendar quarter in which those sales were

   made. (DJ. 362 at 6) For such post-verdict sales, Synthes seeks to apply an ongoing royalty rate

   of25%. (Id.) Globus does not dispute that Synthes is entitled to damages for sales made from


   cannot irreparably harm a patentee if consumers buy that product for reasons other than the
   patented feature."' Depuy Synthes Prods., 2013 WL 4509655, at *2 (quoting Apple, Inc. v.
   Samsung Elecs. Co., Ltd., 678 F.3d 1314, 1324 (Fed. Cir. 2012)). Apple/II, however, concluded
   that a party seeking a permanent injunction need not "show that a patented feature is the sole
   reason for consumers' purchases." Apple III, 735 F.3d at 1364. Even ifthe required showing as
   to the irreparable injury factor has been altered in light of Apple III, the Court's finding that
   Synthes failed to meet its burden is unchanged.
          6
            The sales at issue relate to products that Globus manufactured in the United States but
   sold to foreign markets. (See D.I. 362 at 3; D.I. 383 at 2) The parties are in agreement that such
   products, generally, are infringing products for which Synthes may obtain damages. (See D.I.
   362 at 3 n.1 (citing 35 U.S.C. § 271(a)))

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    September 1, 2012 through June 30, 2013. (DJ. 400 at 2) Globus argues, however, that Synthes

    should not be entitled to damages for sales made in August 2012 because Synthes obtained that

    month's sales data in discovery but failed to include that data in the economic analysis presented

    at trial. (DJ. 383 at 12-13) For post-June 30, 2013 sales, Globus argues that ordering it to

    provide detailed sales records on a quarterly basis would be "both premature and unfair." (Id. at

    13) As for the ongoing royalty rate, Globus argues that the Court "should apply no more than the

    [15%] rate used by the jury." (Id. at 4)

           The Court agrees with Synthes that it should receive damages for Globus' sales in August

    2012. Synthes explains that its failure to present that month's data at trial was an "innocent

    oversight," arising from a decision by its damages expert to calculate damages only through July

    31, 2012. (DJ. 400 at 3 n.3) As Synthes observes, Globus does not contend that the August

    2012 sales were qualitatively different from the sales that were presented at trial as the basis for

    the jury's damages award. (Id. at 2) Nor does Globus dispute the accuracy of the sales data. (Id.

    at 3 (citing DJ. 385 at 4)) Indeed, Globus fails to demonstrate that it would suffer any unfair

    prejudice from the inclusion of the August 2012 sales in the accounting of damages, and its legal

    citations purportedly supporting why Synthes should be precluded from an accounting of those

    sales (see D.I. 383 at 13 (citing Fed. R. Civ. P. 26 & 37(c))) are unpersuasive.

           Globus' contention that requiring it to provide detailed sales records on a quarterly basis

    for post-June 2013 sales would be "both premature and unfair" is based on the possibility that it

    might prevail on its Renewed Motion for Judgment as a Matter of Law, Or in the Alternative, for

    a New Trial. (D.I. 383 at 13) ("Renewed Motion") This argument is moot in light of the Court's

    ruling today, by separate Memorandum Opinion and Order, to deny Globus' Renewed Motion.


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l      \V'hile Globus also claims that it would be "very disruptive and burdensome" to provide the

       requested sales data within 15 days of the conclusion of each quarter, and provides a declaration

       to support this assertion (see id. (citing Declaration of Chad R. Glerum ("Glerum Deel.") D.l.

       384 at, 8)), Globus fails to propose what it would consider to be a reasonable reponing

       obligation. Under the circumstances. which include that Globus is a public company that

       provides quarterly financial statements to investors (see D.l. 400 at 3), the Court "'rill grant

        Synthes' request and require Globus to provide detailed sales records of the relevant products on

t      a quarterly basis within 15 days after the close of the calendar quaner.

               Turning to the ongoing royalty rate to be applied to post-June 30, 2013 sales. the Federal

        Circuit has stated. "There is a fundamental difference ... between a reasonable royalty for

       pre-verdict infringement and damages for post-verdict infringement!' Amado v. Microsoft Corp.,

        517 F.3d 1353, 1361 (Fed. Cir. 2008) (internal citation omitted). One component of this

        difference is the "change in the parties' bargaining positions, and the resulting change in

        economic circumstances." Id. at 1362.

                  To support its requested 25% ongoing royalty rate, Synthes relies on the declaration of

        its economic expert. Dr. Richard Gering. (D.l. 362 at 7-9 (citing Declaration of Richard J.

        Gering. Ph.D .• CLP ("Gering Deel.") D.l. 366 at~ 9-31 )) Dr. Gering's analysis "starts with the

        15% jury verdict royalty.'' (Gering Deel. at~ 12) He then asserts that at the original hypothetical

        negotiation (i.e., the hypothetical negotiation that would have occurred in December 2010 and

        that formed the basis of Dr. Gering's trial testimony), Globus' '·next best alternative,. would have

        been to redesign the infringing products rather than negotiate for a license. (id. at, 13) -




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                                                                          Dr. Gering opines that for

   the current hypothetical negotiation Globus' •"next best alternative has changed."7 (Jd. at~ 17,

    19) In Dr. Gering·s view. Globus' actions demonstrate that Globus has a need for the infringing

    products. thereby weakening its bargaining position and justifying a 25% ongoing royalty rate.

    (Id. at,,- 27-28)

            Dr. Gering's original hypothetical negotiation. as presented at t r i a l . -



                                                 (Trial Tr. at 1118. 1159) As Globus argues, '"the

    'acceptability' ofGlobus' redesigned products was already considered by the jury when it

   adopted Dr. Gering's analysis at trial.'' (DJ. 383 at 7) The Court is not persuaded that the




                                                                     that. here, justifies the increased

    post-verdict royalty rate to the full extent requested by Synthes. See Amado, 517 F.3d at 1362.

    The Court believes some increase is justified and, hence, will apply an ongoing royalty rate of

    18%.g


            7
              The Gering Declaration also discusses other economic costs factoring into his analysis,
    such as: (I) Globus• roll-out costs in developing and launching the redesigned products;
    (2) opportunity costs Globus would incur should it not take a license from Synthes; and (3) the
    economic impact to Globus as a result of impaired relationships with surgeons who use its
    products. (Gering Deel. at~ 20-22) Each of these factors was also discussed in Dr. Gering's
    trial testimony and fonned part of the basis for his opinion to apply a 15% royalty rate. (Trial Tr.
    at 1118, 1154-55, 1158-59)
            8
            In the Court's view, neither party presents an analysis that sufficiently accounts for the
    differences (or Jack thereof) between those factors pertinent to the original hypothetical
    negotiation and those pertinent to the post-verdict hypothetical negotiation. The Court's 18%

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           Accordingly, Synthes' Motion for an Accounting and Determination of an Ongoing

    Royalty Rate is GRANTED IN PART, in that Synthes shall be awarded damages to account for

    infringing sales made from August 1, 2012 through June 30, 2013, using the 15% royalty rate

    awarded by the jury, and that Globus shall be required to provide Synthes with records sufficient

    to identify infringing sales within 15 days after the close of the calendar quarter in which those

    sales were made, and the motion is DENIED IN PART, in that for any post-June 30, 2013 sales,

    the ongoing royalty rate shall be 18%.

           D.      Synthes' Motion for Prejudgment and Postjudgment Interest

           In Synthes' Motion for Prejudgment and Postjudgment Interest (D.1. 358), Synthes seeks

    prejudgment interest at the prime rate, compounded quarterly, and postjudgment interest at a rate

    in accordance with 28 U.S.C. § 1961(a). (D.I. 363 at 2) Globus argues that prejudgment interest

    is not appropriate; if it is awarded, Globus asks that it be at the three-month Treasury Bill ("T-

    bill") rate, which is lower than the prime rate. (D.I. 382 at 1) Globus agrees that postjudgment

    interest is mandated at a rate determined by 28 U.S.C. § 1961(a). (See D.I. 401 at 1) Thus, the

    dispute between the parties is whether to award prejudgment interest and, if so, at what rate.

           Globus argues that because Synthes allegedly delayed throughout the process of patent

    prosecution, and during that time Globus invested "significant resources" in bringing the accused

    products to market, "equitable principles dictate that an award of prejudgment interest is not

    appropriate." (D.I. 382 at 1-2) According to Globus, it could "have invested its capital

    elsewhere" during Synthes' alleged delays, had Synthes "promptly obtained the broader patent


    figure is based on the Court's conclusion that Synthes is entitled to some elevated ongoing
    royalty rate as a result of the post-verdict changes to the parties' hypothetical bargaining
    positions, but not the full 66% increase (from 15% to 25%) that Synthes seeks.

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    claims it asserted in this case. or even notified Globus of its putative patent rights.'' (ld. at 3) As

    Synthes points out in its Reply Brief, however. this argument is both unsupported by Globus'

    legal citations and somewhat counterintuitive. (DJ. 401 at 2) Globus' cases address why a court

    may reject a request for prejudgment interest when a plaintiff delays in prosecuting a lawsuit. not

    prosecuting a patent. (See D.I. 382 at 7) Unlike, perhaps. delay in pursuing litigation. delay in

    prosecuting a patent might help an accused infringer. as it may shorten the period for which such

    an infringer is liable for damages. (D.I. 402 at 3-4) In any event the Court is unpersuaded by

    Globus' arguments that prejudgment interest is not appropriate here.i> Accordingly, the Court

    turns to the question of what interest rate should be used to calculate prejudgment interest in this

    case.

            In arguing for interest at the T-bill rate (DJ. 382 at 3), Globus primarily relies upon its

    argument that Synthes ''fail[ed] to provide proof' establishing "the amount of interest that would

    have been accrued.'' (Id.) Synthes cites again to the declaration of its economic expert, Dr.

    Richard Gering. to explain why an award at the prime rate is both ..appropriate" and

    ""conservative:· (D.l. 363 at 4 (citing Gering Deel. at~ 32-38)) Dr. Gering asserts that the

    prime rate '"generally reflects the borrowing costs of large businesses like [Synthes] .... and thus

    is a good estimate of the cost to [Synthes] of not having access to the damages award during the

    infringement." (Gering Deel. at 'i 33) Also, Synthes cites to some evidence that it invested in its

    own company during the relevant period, investments that, according to Dr. Gering, yielded an

    average return of approximately nine percent, a rate almost three times larger than the prime rate.




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    (D.I. 363 at 4; Gering Deel. at~ 36, 39)

            While it is not necessary that a "patentee demonstrate that it borrowed at the prime rate

    in order to be entitled to prejudgment interest at that rate," Uniroyal, 939 F.2d at 1545, Synthes

    has nevertheless provided some evidence that the prime rate is appropriate here. Globus'

    arguments in support of the T-bill rate are, in comparison, far more speculative and conclusory.

    (See D.I. 382 at 15) The Court concludes that prejudgment interest should be calculated using

    the prime rate, compounded quarterly. See Edwards Lifesciences, 2011WL446203, at *13; LG

    Display Co., 722 F. Supp. 2d at 475; see also (D.I. 363 at 5 (calculating prejudgment interest to

    which Synthes is entitled using prime rate figure)). Accordingly, Synthes' Motion for

    Prejudgment and Postjudgment Interest is GRANTED.

    IV.    CONCLUSION

           For the foregoing reasons, the Court will deny each party's motion for attorneys' fees

    (DJ. 340, 370), deny Synthes' Motion for a Permanent Injunction and Destruction of Infringing

    Products (D.I. 356), grant in part and deny in part Synthes' Motion for an Accounting and

    Determination of an Ongoing Royalty Rate (DJ. 357), and grant Synthes' Motion for

    Prejudgment and Postjudgment Interest (D.I. 358). An appropriate Order follows.




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